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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )      4:04cr3007
                                         )
      Plaintiff,                         )
                                         )      ORDER ON REQUEST FOR HEARING
vs.                                      )      ON RULE 35(b) MOTION
                                         )
TINA LUCAS,                              )
                                         )
      Defendant.                         )


      The United States of America has requested a hearing on its previously filed Rule
35(b) Motion.

      IT IS ORDERED that:

      1.     the Request for Hearing on Rule 35(b) Motion, filing 73, is granted;

      2.     the hearing will be held on August 2, 2006, at 12:45 p.m. in Courtroom 4, U.S.
             Courthouse, 100 Centennial Mall North, Lincoln, Nebraska;

      3.     counsel for the defendant shall notify the defendant of the date and time of the
             hearing.

      Dated July 28, 2006.

                                         BY THE COURT

                                         s/ Warren K. Urbom
                                         United States Senior District Judge
